         Case 3:16-md-02741-VC Document 8510-1 Filed 12/20/19 Page 1 of 8




 1
                                    UNITED STATES DISTRICT COURT
 2
                                 NORTHERN DISTRICT OF CALIFORNIA
 3

 4                                                      )
 5   IN RE: ROUNDUP PRODUCTS                            ) MDL No. 2741
     LIABILITY LITIGATION                               )
 6                                                      ) Case No. 3:16-md-02741-VC
                                                        )
 7                                                      ) DECLARATION OF BRIAN L.
     This document relates to:
                                                        ) STEKLOFF IN SUPPORT OF
 8   Carriere v. Monsanto Co., 3:18-cv-05778            ) MONSANTO COMPANY’S
     I. Hernandez v. Monsanto Co., 3:16-cv-05750        ) ADMINISTRATIVE MOTION TO FILE
 9
     Johansing v. Monsanto Co., 3:16-cv-05751           ) UNDER SEAL PORTIONS OF MOTION
10   Sanders et al. v. Monsanto Co., 3:16-cv-05752      ) AND SUPPORTING EXHIBITS RE:
     Wooten v. Monsanto Co., 3:17-cv-01735              ) MONSANTO COMPANY’S MOTION TO
11   Calderon v. Monsanto Co., 3:19-cv-01630            ) EXCLUDE TESTIMONY OF SPECIFIC
     Harris v. Monsanto Co., 3:16-cv-003199             ) CAUSATION EXPERTS
12   R. Hernandez v. Monsanto Co., 3:16-cv-07364        ) CHARALAMBOS ANDREADIS,
     Perkins v. Monsanto Co., 3:16-cv-06025             )
13                                                      ) CLAYTON SMITH, EDWIN ALYEA,
     Dickey et al. v. Monsanto Co., 3:19-cv-04102       ) BARRY BOYD, LAUREN PINTER-
14   Domina v. Monsanto Co., 3:16-cv-05887              ) BROWN, RON SCHIFF, AND BRENT
     Janzen v. Monsanto Co., 3:19-cv-4103               ) STAGGS IN WAVE ONE CASES ON
15   Pollard v. Monsanto Co., 3:19-cv-4100              ) DAUBERT GROUNDS
     Tanner v. Monsanto Co., 3:19-cv-04099              )
16

17

18          I, Brian L. Stekloff, hereby declare as follows:

19          1.      I am a partner in the law firm Wilkinson Walsh + Eskovitz. My firm is counsel to

20   Monsanto in the above-captioned actions.

21          2.      Monsanto’s Administrative Motion to File Under Seal Portions of its Motion for

22   Summary Judgment and Supporting Exhibits seeks to maintain the confidentiality of Plaintiffs’

23   personally identifiable information and medical conditions.

24          3.      Fed. R. Civ. P. 5.2 provides that certain personally identifiable information, including

25   an individual’s social-security number and birth date, generally must be redacted.

26

27
                                                       -1-
      DECLARATION OF BRIAN L. STEKLOFF IN SUPPORT OF MONSANTO COMPANY’S ADMINISTRATIVE
28                                       MOTION TO FILE UNDER SEAL
      3:16-MD-02741-VC; 3:18-CV-05778; 3:16-CV-05750; 3:16-CV-05751; 3:16-CV-05752; 3:17-CV-01735; 3:19-CV-
     01630; 3:16-CV-003199; 3:16-CV-07364; 3:16-CV-06025; 3:16-CV-04102; 3:16-CV-05887; 3:19-CV-4103; 3:19-CV-
                                                4100; 3:19-CV-04099.
         Case 3:16-md-02741-VC Document 8510-1 Filed 12/20/19 Page 2 of 8



            4.       Co-Lead Counsel for Plaintiffs in this litigation requested that addresses and all
 1
     medical information for all Plaintiffs, other than the fact of NHL diagnosis and the treatment for that
 2
     condition, be redacted, pursuant to the Amended Protective Order. This information has been
 3
     designated as “Confidential” by Plaintiffs pursuant to the Amended Protective Order (MDL Doc. #
 4
     519; Pre-Trial Order No. 30).
 5
            5.      Pursuant to Plaintiffs’ request as the Designating Party and Fed. R. Civ. P. 5.2,
 6
     Monsanto has prepared proposed redactions of the following documents:
 7
        •   Pages 3:13-14, 16-18, 21-28; 4:1-6, 8-9, 14, 16-20-21; 5:4, 13-19, 23-25, 28; 6:1-2, 7-13, 16-
 8
            20, 26, 28; 7:1-3; 11:18-22; 12:9-10, 13, 17-22, 27; 13:1-5, 12-17, 20-28; 14:1-3, 5-7, 11-13;
 9
            15:3-6; 17:2, 8, 23-28; 18:1-18—Monsanto’s Motion to Exclude Testimony of Specific
10
            Causation Experts Charalambos Andreadis, Clayton Smith, Edwin Alyea, Barry Boyd, Lauren
11
            Pinter-Brown, Ron Schiff, and Brent Staggs in Wave One Cases on Daubert Grounds (“the
12
            Motion”), MDL Docket No. 8012; No. 3:19-cv-01630-VC, Docket No. 18; No. 3:18-cv-
13
            05778-VC, Docket No. 22; No. 3:19-cv-04102-VC, Docket No. 14; No. 3:16-cv-04102-VC,
14
            Docket No. 59; No. 3:17-cv-03199-VC, Docket No. 22; No. 3:16-cv-05750-VC, Docket No.
15
            51; No. 3:17-cv-07364-VC, Docket No. 21; No. 3:19-cv-04103-VC, Docket No. 17; No. 3:16-
16
            cv-05751-VC, Docket No. 32; No. 3:16-cv-06025-VC, Docket No. 31; No. 3:19-cv-04100-
17
            VC, Docket No. 13; No. 3:16-cv-05752-VC, Docket No. 66; No. 3:19-cv-04099-VC, Docket
18
            No. 9; No. 3:17-cv-01735-VC, Docket No. 24.
19
        •   Pages 3:12-19; 6:2-3, 20-23; 30:17, 20; 31:1; 33:9-45:25; 46:5-49:5; 49:9-52:12; 54:5-55:14;
20
            57:18-19; 58:8-15, 18-25; 62:17-20; 62:24-63:14; 63:16-64:9; 64:13-17; 64:19-65:1; 65:4-11,
21
            16-21; 66:5-8; 67:13-14, 21-23; 68:1, 13-15; 69:2-8, 14-15, 18-25; 70:2-3, 15-19; 71:2, 5-7,
22
            11-12, 14-15, 17-20, 22-25; 72:4-7, 11-12, 14-19, 21-23; 72:25-73:1; 73:3-4, 18-21; 73:25-
23
            74:20; 74:22-75:8; 76:2-3, 6-7; 76:11-77:10; 77:14-16; 77:22-87:10; 88:7-94:9; 94:11-12, 14,
24
            23-24; 95:1-9, 15-19; 95:22-97:2; 97:16; 98:24-100:16; 106:20; 115:7-16; 117:1-3—
25
            Deposition of Dr. Donald Barry Boyd, taken October 26, 2019, in Perkins v. Monsanto Co.,
26

27
                                                       -2-
      DECLARATION OF BRIAN L. STEKLOFF IN SUPPORT OF MONSANTO COMPANY’S ADMINISTRATIVE
28                                       MOTION TO FILE UNDER SEAL
      3:16-MD-02741-VC; 3:18-CV-05778; 3:16-CV-05750; 3:16-CV-05751; 3:16-CV-05752; 3:17-CV-01735; 3:19-CV-
     01630; 3:16-CV-003199; 3:16-CV-07364; 3:16-CV-06025; 3:16-CV-04102; 3:16-CV-05887; 3:19-CV-4103; 3:19-CV-
                                                4100; 3:19-CV-04099.
         Case 3:16-md-02741-VC Document 8510-1 Filed 12/20/19 Page 3 of 8



            Northern District of California Case No. 3:16-cv-06025-VC, attached as Exhibit 1 to the
 1
            Motion.
 2
        •   Pages 5:15-16; 7:16-17; 32:3-4, 9-22; 34:24; 130:22-23; 131:9-10, 18; 132:5; 132:9-10;
 3
            132:19, 21; 133:13-15; 135:13-14, 18, 22; 135:24-136:1; 136:3; 137:1, 7, 13-14; 138:3, 6,
 4
            13-14, 23-24; 139:2, 4; 143:12-18; 143:22-151:25; 152:4-19; 152:22-153:1; 153:3-6, 8-19;
 5
            154:3-16, 18-21; 154:23-156:5; 211:19-20; 216:4-5, 7-8, 10-16, 18-20; 217:6-9, 21-23; 218:1-
 6
            16; 227:10-228:5; 228:7-16; 230:3- 233:25; 234:12-236:1; 266:16-19; 267:3-6; 267:9-273:25;
 7
            274:2-5, 14-23; 275:1-13; 278:16-281:23; 282:1-284:5; 284:11-285:25; 286:2-3; 286:5-
 8
            287:3; 287:5-289:23; 290:1-291:5; 291:11-297:22—Deposition of Dr. Edwin P. Alyea, taken
 9
            November 15, 2019, in R. Hernandez v. Monsanto Co., Northern District of California Case
10
            No. 3:17-cv-07364-VC, attached as Exhibit 2 to the Motion.
11
        •   Pages 8:4-8; 31:4-12, 16-17; 31:19-32:2; 32:5-17; 33:7-14; 33:18-34:2; 34:5; 38:17-18;
12
            40:20-24; 62:15-16, 21-22; 62:25-63:1; 107:19-108:12; 108:17-21; 108:23-109:2; 109:4-
13
            109:9; 109:15-17, 21-22, 24-25; 110:1-3, 4-8; 110:10-111:10; 112:1-3, 5-8, 12-21; 112:24-
14
            113:17; 114:12-14, 21-24; 115:3-6, 8, 18, 23-24; 116:8-14; 118:5-6, 8-13, 15-20; 119:5-8, 11-
15
            13, 15-23—Deposition of Dr. Lauren Pinter-Brown, taken November 18, 2019, in Carriere v.
16
            Monsanto Co., Northern District of California Case No. 3:18-cv-05778-VC, attached as
17
            Exhibit 3 to the Motion.
18
        •   Pages 4:11-13; 18:6-19:10; 21:4-6; 22:2-3, 20-21; 23:9-24:2; 24:20-22; 40:18-19; 119:3-8;
19
            127:1, 10-11; 128:17-130:2; 130:5-12; 135:11-13; 135:15-136:13; 136:18-21; 136:23-137:1;
20
            137:4-25; 138:7-139:11; 139:14-20; 139:23-140:9; 140:13-15; 163:23-164:18—Deposition
21
            of Dr. Ron Schiff, taken November 12, 2019, in Harris v. Monsanto Co., Northern District of
22
            California Case No. 3:16-cv-03199-VC, attached as Exhibit 4 to the Motion.
23
        •   Page 8:14-15; 144:23, 25; 145:1-9; 220:10-11, 13-14, 23; 221:1-25; 226:7; 230:17-231:24;
24
            232:1-10, 24-25; 239:6-240:6; 240:10-15; 241:1-2, 5-11, 14-20; 242:6-11—Deposition of Dr.
25

26

27
                                                       -3-
      DECLARATION OF BRIAN L. STEKLOFF IN SUPPORT OF MONSANTO COMPANY’S ADMINISTRATIVE
28                                       MOTION TO FILE UNDER SEAL
      3:16-MD-02741-VC; 3:18-CV-05778; 3:16-CV-05750; 3:16-CV-05751; 3:16-CV-05752; 3:17-CV-01735; 3:19-CV-
     01630; 3:16-CV-003199; 3:16-CV-07364; 3:16-CV-06025; 3:16-CV-04102; 3:16-CV-05887; 3:19-CV-4103; 3:19-CV-
                                                4100; 3:19-CV-04099.
         Case 3:16-md-02741-VC Document 8510-1 Filed 12/20/19 Page 4 of 8



            Charalambos Andreadis, taken November 11, 2019, in Calderon v. Monsanto Co., Northern
 1
            District of California Case No. 3:19-cv-01630-VC, attached as Exhibit 5 to the Motion.
 2
        •   Portions of pages 4, 5, 6, 8, and 9—Expert Report of Dr. Clayton Smith, dated September 30,
 3
            2019, for Calderon v. Monsanto Co., Northern District of California Case No. 3:19-cv-01630-
 4
            VC, attached as Exhibit 6 to the Motion.
 5
        •   Pages 60:1-12; 112:16-114:10; 115:2-116:8; 154:7-10; 170:6-171:10; 171:23-172:3; 173:15-
 6
            176:24; 214:1-215:5—Deposition of Dr. Clayton Smith, taken November 18, 2019, in
 7
            Calderon v. Monsanto, Northern District of California Case No. 3:19-cv-01630-VC, attached
 8
            as Exhibit 7 to the Motion.
 9
        •   Portions of pages 1, 10, 11, and 14—Expert Report of Dr. Brent C. Staggs, dated October 8,
10
            2019, for Dickey v. Monsanto Co., Northern District of California Case No. 3:19-cv-04102-
11
            VC, attached as Exhibit 8 to the Motion.
12
        •   Pages 109:9; 113:15-16, 24; 114:1, 4, 7, 8, 9-14, 16, 19, 24; 115:2, 3-4, 7, 12; 116:3-4, 6-9,
13
            12-13, 21-22; 117:7, 10-12, 18-20, 22-23; 118:4, 7, 17, 19, 22; 119:9, 21; 120:10, 17; 121:1-
14
            2, 16, 20; 122:5, 6, 18, 19; 123:1, 15; 124:2, 20, 24; 125:15-16; 126:2, 9; 127:15, 24; 128:1-
15
            5, 9—Deposition of Dr. Brent Staggs, taken November 7, 2019, in Sanders v. Monsanto Co.,
16
            Northern District of California Case No. 3:16-cv-05752-VC, attached as Exhibit 9 to the
17
            Motion.
18
        •   Portions of pages 2, 5, 6, and 7—Ruben Hernandez, First Amended Plaintiff Fact Sheet, dated
19
            February 1, 2019, attached as Exhibit 10 to the Motion.
20
        •   Portions of pages 2, 4, 5, 6, and 8—Goldie Perkins, Plaintiff Fact Sheet, dated December 14,
21
            2018, attached as Exhibit 11 to the Motion.
22
        •   Portions of pages 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 16, 17, and 18—Expert Report of Dr. D.
23
            Barry Boyd, dated October 4, 2019, for Perkins v. Monsanto Co., Northern District of
24
            California Case No. 3:16-cv-06025-VC, attached as Exhibit 12 to the Motion.
25

26

27
                                                       -4-
      DECLARATION OF BRIAN L. STEKLOFF IN SUPPORT OF MONSANTO COMPANY’S ADMINISTRATIVE
28                                       MOTION TO FILE UNDER SEAL
      3:16-MD-02741-VC; 3:18-CV-05778; 3:16-CV-05750; 3:16-CV-05751; 3:16-CV-05752; 3:17-CV-01735; 3:19-CV-
     01630; 3:16-CV-003199; 3:16-CV-07364; 3:16-CV-06025; 3:16-CV-04102; 3:16-CV-05887; 3:19-CV-4103; 3:19-CV-
                                                4100; 3:19-CV-04099.
         Case 3:16-md-02741-VC Document 8510-1 Filed 12/20/19 Page 5 of 8



        •   Portions of pages 2, 3, 4, 5, and 6—Peter Johansing, Second Amended Plaintiff Fact Sheet,
 1
            dated March 5, 2019, attached as Exhibit 13 to the Motion.
 2
        •   Portions of pages 3, 5, 6, 7, 8, 11, 12, and 14. Portions of reference list pages 6, 7, 8, and 9—
 3
            Expert Report of Dr. Lauren Pinter-Brown, dated October 4, 2019, for Johansing v. Monsanto
 4
            Co., Northern District of California Case No. 3:16-cv-05751-VC, attached as Exhibit 14 to
 5
            the Motion.
 6
        •   Portions of pages 2, 3, 4, 5, 6, and 7—Expert Report of Dr. Lauren Pinter-Brown, dated
 7
            October 4, 2019, for Wooten v. Monsanto Co., Northern District of California Case. No. 3:17-
 8
            cv-01735-VC, attached as Exhibit 15 to the Motion.
 9
        •   Pages 27:20-23; 30:2-5, 11-21; 31:1-4; 47:7-14, 18-23, 25; 48:1-49:13; 50:1-18; 52:3-53:3;
10
            53:5-13; 54:4; 57:14-58:6; 63:17-64:2; 75:14-76:3; 76:18-19—Deposition of Dr. Ron Schiff,
11
            taken November 12, 2019, in I. Hernandez v. Monsanto Co., Northern District of California
12
            Case No. 3:16-cv-05750-VC, attached as Exhibit 17 to the Motion.
13
        •   Portions of pages 2, 3, 4, 5, and 6—Ines Hernandez, First Amended Plaintiff Fact Sheet, dated
14
            April 29, 2019, attached as Exhibit 18 to the Motion.
15
        •   Pages 22:18, 20; 139:23—Deposition of Ines Hernandez, taken July 12, 2019, in I. Hernandez
16
            v. Monsanto Co., Northern District of California Case No. 3:16-cv-05750-VC, attached as
17
            Exhibit 19 to the Motion.
18
        •   Portions of pages 2, 4, 5, 6, 7, and 9—Anthony Harris, First Amended Plaintiff Fact Sheet,
19
            dated March 1, 2019, attached as Exhibit 20 to the Motion.
20
        •   Portions of pages 2, 3, 4, 5, and 6—Robert Dickey, Plaintiff Fact Sheet, dated February 15,
21
            2019, attached as Exhibit 21 to the Motion.
22
        •   Page 206:1-25—Deposition of Robert Dickey, taken July 16, 2019, in Domina et al. v.
23
            Monsanto Co., Northern District of California Case No. 3:16-cv-05887-VC, attached as
24
            Exhibit 22 to the Motion.
25

26

27
                                                       -5-
      DECLARATION OF BRIAN L. STEKLOFF IN SUPPORT OF MONSANTO COMPANY’S ADMINISTRATIVE
28                                       MOTION TO FILE UNDER SEAL
      3:16-MD-02741-VC; 3:18-CV-05778; 3:16-CV-05750; 3:16-CV-05751; 3:16-CV-05752; 3:17-CV-01735; 3:19-CV-
     01630; 3:16-CV-003199; 3:16-CV-07364; 3:16-CV-06025; 3:16-CV-04102; 3:16-CV-05887; 3:19-CV-4103; 3:19-CV-
                                                4100; 3:19-CV-04099.
         Case 3:16-md-02741-VC Document 8510-1 Filed 12/20/19 Page 6 of 8



        •   Portions of pages 2, 3, 4, and 5—Larry Domina, Plaintiff Fact Sheet, dated February 15, 2019,
 1
            attached as Exhibit 23 to the Motion.
 2
        •   Pages 42:3, 7-8—Deposition of Larry Domina, taken on July 15, 2019, in Domina et al. v.
 3
            Monsanto Co., Northern District of California Case No. 3:16-cv-05887-VC, attached as
 4
            Exhibit 24 to the Motion.
 5
        •   Portions of pages 2, 3, 4, and 5—Royce Janzen, Plaintiff Fact Sheet, dated February 15, 2019,
 6
            attached as Exhibit 25 to the Motion.
 7
        •   Portions of pages 1, 10, 11, and 12—Expert Report of Dr. Brent Staggs, dated October 9,
 8
            2019, for Janzen v. Monsanto Co., Northern District of California Case No. 3:19-cv-04103-
 9
            VC, attached as Exhibit 26 to the Motion.
10
        •   Pages 13:19-14:1; 17:2-18:8; 22:4-24:25; 26:1-4; 28:15-17; 28:23-31:12; 33:1-34:25—
11
            Deposition of Dr. Brent Staggs, taken November 18, 2019, in Janzen v. Monsanto Co.,
12
            Northern District of California Case No. 3:19-cv-04103-VC, attached as Exhibit 27 to the
13
            Motion.
14
        •   Portions of pages 2, 4, 5, 6, and 7—Frank Pollard, Plaintiff Fact Sheet, dated February 15,
15
            2019, attached as Exhibit 28 to the Motion.
16
        •   Portions of pages 1, 10, and 11—Expert Report of Dr. Brent Staggs, dated October 9, 2019,
17
            for Pollard v. Monsanto Co., Northern District of California Case No. 3:19-cv-4100-VC,
18
            attached as Exhibit 29 to the Motion.
19
        •   Portions of pages 2, 3, 4, and 5—John Sanders, Second Amended Plaintiff Fact Sheet, dated
20
            March 29, 2019, attached as Exhibit 30 to the Motion.
21
        •   Portions of pages 1, 10, 11, 12, and 13—Expert Report of Dr. Brent Staggs, dated October 9,
22
            2019, for Sanders v. Monsanto Co., Northern District of California Case No. 3:16-cv-05752-
23
            VC, attached as Exhibit 31 to the Motion.
24
        •   Portions of pages 2, 3, 4, 5, and 6—Frank Tanner, Second Amended Plaintiff Fact Sheet, dated
25
            March 29, 2019, attached as Exhibit 32 to the Motion.
26

27
                                                       -6-
      DECLARATION OF BRIAN L. STEKLOFF IN SUPPORT OF MONSANTO COMPANY’S ADMINISTRATIVE
28                                       MOTION TO FILE UNDER SEAL
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     01630; 3:16-CV-003199; 3:16-CV-07364; 3:16-CV-06025; 3:16-CV-04102; 3:16-CV-05887; 3:19-CV-4103; 3:19-CV-
                                                4100; 3:19-CV-04099.
         Case 3:16-md-02741-VC Document 8510-1 Filed 12/20/19 Page 7 of 8



        •   Pages 3:13-14; 11:24-12:6; 48:3-49:2—Deposition of Dr. Brent Staggs, taken November 7,
 1
            2019, in Tanner v. Monsanto Co., Northern District of California Case No. 3:19-cv-04099-
 2
            CV, attached as Exhibit 33 to the Motion.
 3
        •   Portions of pages 1 and 10—Expert Report of Dr. Brent Staggs, dated October 8, 2019, for
 4
            Tanner v. Monsanto Co., Northern District of California Case No. 3:19-cv-04099-CV,
 5
            attached as Exhibit 34 to the Motion.
 6
        •   Pages 16:20-17:8; 18:3-24; 19:5-20:4; 20:6-18; 21:8-23:10; 38:20-39:5; 70:1-9; 13:19;
 7
            125:24-126:7; 126:10-13—Deposition of Dr. Brent Staggs, taken November 20, 2019, in
 8
            Dickey v. Monsanto Co., Northern District of California Case No. 3:19-cv-04102-VC,
 9
            attached as Exhibit 35 to the Motion.
10
        •   Portions of pages 4, 5, 6, 8, 11, and 12—First Supplemental Expert Report of Dr. Edwin
11
            Alyea, dated October 25, 2019, for R. Hernandez v. Monsanto Co., Northern District of
12
            California Case No. 3:17-cv-07364-VC, attached as Exhibit 36 to the Motion.
13
        •   Portions of pages 2, 3, 4, 5, 6, and 7—Jerald Carriere, Plaintiff Fact Sheet, dated November
14
            28, 2018, attached as Exhibit 37 to the Motion.
15
        •   Portions of pages 2, 3, and 5—Expert Report of Dr. Lauren Pinter-Brown, dated October 4,
16
            2019, for Carriere v. Monsanto Co., Northern District of California Case No. 3:18-cv-05778-
17
            VC, attached as Exhibit 38 to the Motion.
18
        •   Pages 169:2-5; 169:7-170:25; 208:1-23—Deposition of Jerald Carriere, taken July 16, 2019,
19
            in Carriere v. Monsanto Co., Northern District of California Case No. 3:18-cv-05778-VC,
20
            attached as Exhibit 39 to the Motion.
21
        •   Pages 132:2-135:18; 136:21-137:3; 137:8-17; 137:22-138:5; 138:12-139:8; 139:11-12, 15-23;
22
            140:5-11; 142:1-7; 145:11-13; 145:23-146:13; 149:18-24; 151:1-152:25; 191:3-8; 191:12-
23
            192:1; 272:23-273:21; 284:6-21; 290:17-291:25; 292:3-9, 13-25; 293:4-13; 294:11-25—
24
            Deposition of Dr. Lauren Pinter-Brown, taken November 15, 2019, in Johansing v. Monsanto
25

26

27
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      DECLARATION OF BRIAN L. STEKLOFF IN SUPPORT OF MONSANTO COMPANY’S ADMINISTRATIVE
28                                       MOTION TO FILE UNDER SEAL
      3:16-MD-02741-VC; 3:18-CV-05778; 3:16-CV-05750; 3:16-CV-05751; 3:16-CV-05752; 3:17-CV-01735; 3:19-CV-
     01630; 3:16-CV-003199; 3:16-CV-07364; 3:16-CV-06025; 3:16-CV-04102; 3:16-CV-05887; 3:19-CV-4103; 3:19-CV-
                                                4100; 3:19-CV-04099.
         Case 3:16-md-02741-VC Document 8510-1 Filed 12/20/19 Page 8 of 8



            Co., Northern District of California Case No. 3:16-cv-05751-VC, attached as Exhibit 40 to
 1
            the Motion.
 2
        •   Portions of pages 2, 4, 5, 6, 7, and 8—Expert Report of Dr. Charalambos Andreadis, dated
 3
            October 1, 2019, for Calderon v. Monsanto Co., Northern District of California Case No.
 4
            3:19-cv-01630-VC, attached as Exhibit 41 to the Motion.
 5
        •   Pages 20:19-23; 31:2-21; 112:17-25; 124:25-127:12; 129:12-22; 145:1-11—Deposition of Dr.
 6
            Brent Staggs, taken November 18, 2019, in Domina v. Monsanto Co., Northern District of
 7
            California Case No. 3:16-cv-05887-VC, attached as Exhibit 42 to the Motion.
 8
            6.      I declare under penalty of perjury under the laws of the United States of America that
 9
     the foregoing is true and correct.
10
            Executed this 20th day of December, 2019.
11

12
                                                   /s/ Brian L. Stekloff
13                                                 Brian L. Stekloff

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      DECLARATION OF BRIAN L. STEKLOFF IN SUPPORT OF MONSANTO COMPANY’S ADMINISTRATIVE
28                                       MOTION TO FILE UNDER SEAL
      3:16-MD-02741-VC; 3:18-CV-05778; 3:16-CV-05750; 3:16-CV-05751; 3:16-CV-05752; 3:17-CV-01735; 3:19-CV-
     01630; 3:16-CV-003199; 3:16-CV-07364; 3:16-CV-06025; 3:16-CV-04102; 3:16-CV-05887; 3:19-CV-4103; 3:19-CV-
                                                4100; 3:19-CV-04099.
